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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
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 7    UNITED STATES OF AMERICA,
                                                    NO: 2:13-CR-0024-TOR-1
 8                              Plaintiff,
                                                    ORDER GRANTING DEFENDANT’S
 9          v.                                      MOTION TO MODIFY CONDITIONS
                                                    OF RELEASE
10    RHONDA FIRESTACK-HARVEY,

11                              Defendant.

12         BEFORE THE COURT are Defendant’s Motion to Modify Conditions of

13   Release (ECF No. 810) and Motion to Expedite (811). The motions were

14   submitted for consideration without oral argument. The Court has reviewed the

15   motions and the file therein and is fully informed.

16         On December 1, 2015, the Court granted Defendant’s motion to modify her

17   conditions of release to allow her to reside in the Western District of Washington;

18   allow her blanket travel between the Eastern and Western Districts of Washington;

19   and abolish her curfew. In her instant motion, Defendant requests to further

20   modify her release conditions to allow her to travel to Alaska between December


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 1   20, 2015 and January 5, 2016. In her motion, Defendant notes that neither the

 2   government nor the probation office are opposed to her proposed holiday travel.

 3   The United States Probation Officer has been contacted and states that neither the

 4   Probation Officer for the Eastern District or Western District of Washington

 5   oppose the request. Defendant has been allowed to travel on several occasions

 6   during the pendency of this matter with no problems and has otherwise abided by

 7   all conditions of release. For good cause shown, the motions are granted.

 8         ACCORDINGLY, IT IS HEREBY ORDERED:

 9         1. Defendant’s Motion to Modify Conditions of Release (ECF No. 810)

10   and Motion to Expedite (ECF No. 811) are GRANTED.

11         2. Defendant is permitted to travel to Alaska between December 20, 2015

12   and January 5, 2016. Defendant shall notify her probation officer of her travel

13   plans no less than 24 hours before her departure and contact the United States

14   Probation Office upon her return to either the Eastern or Western District of

15   Washington.

16         3. All other terms and conditions of Defendant’s post-trial supervision

17   remain in effect.

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 1         The District Court Executive is hereby directed to enter this Order and

 2   furnish copies to counsel.

 3         DATED December 11, 2015.

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 5                                   THOMAS O. RICE
                                  United States District Judge
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     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY CONDITIONS
     OF RELEASE ~ 3
